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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                            CIVIL MINUTES - GENERAL
 Case No.         2:21-cv-09031-SVW-KS                                                  Date    November 19, 2021
 Title            Ignacio Vera v. Wilros, LLC et al




 Present: The Honorable             STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                Paul M. Cruz                                      N/A
                Deputy Clerk                           Court Reporter / Recorder                      Tape No.
                Attorneys Present for Plaintiffs:                         Attorneys Present for Defendants:
                              N/A                                                         N/A
 Proceedings:                  IN CHAMBERS ORDER TO FILE JOINT REPORT

        It is the policy of this Court to encourage expedient resolution of civil litigation. Cf. Fed. R. Civ. P. 1
(noting that rules of civil procedure should be construed to "secure the just, speedy, and inexpensive
determination of every action and proceeding").

        In accordance with that policy, the Court reminds the parties that "a defendant's voluntary removal of
alleged barriers prior to trial can have the effect of mooting a plaintiff's ADA claim." Oliver v. Ralphs Grocery
Co., 654 F.3d 903, 905 (9th Cir. 2011).

        If the defendant in an ADA case removes the alleged barriers and demonstrates that the alleged barriers
could not reasonably be expected to arise again, the ADA claim may be dismissed. See id.; see also Am. Cargo
Transp., Inc. v. United States, 625 F.3d 1176, 1179 (9th Cir. 2010). If an ADA claim is mooted and dismissed
at an early stage, the Court has the discretion to decline supplemental jurisdiction over state law claims. See
Oliver, 654 F.3d at 911 (finding no abuse of discretion where district court declined supplemental jurisdiction
after ADA claims were moot).

         Additionally, if an ADA claim is mooted and dismissed, the plaintiff is not entitled to attorney's fees.
See Buckhannon Bd. & Care Home, Inc. v. W. Va. Dept. of Health & Human Resources, 532 U.S. 598 (2001)
(affirming denial of attorney's fees where ADA claim rendered moot prior to trial); see also Molski v. Foster
Freeze Paso Robles, 267 Fed.Appx. 631, 632 (9th Cir. 2008) (citing Buckhannon, 532 U.S. at 605) (affirming
district court's order dismissing ADA claims as moot, dismissing supplemental state claims, and denying
attorney's fees).

        In light of the foregoing, the parties are ORDERED to issue a joint status report at least 7 days
prior to the initial status conference. In that status report, Defendant should describe the measures it has
taken to investigate and/or remedy the alleged barriers. If Defendant implemented remedial measures, Plaintiff
should state their position regarding those measures. Both parties should state whether and when they intend to
move for summary judgment.




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                                                                 Initials of Preparer                PMC

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